Case 1:18-cr-00204-NGG   Document 456-8 Filed 03/22/19   Page 1 of 5 PageID #:
                                   4763




                            EXHIBIT 7
  Case
Case    1:18-cr-00204-NGG Document
     1:18-cr-00204-NGG-VMS Document456-8  Filed02/25/19
                                    378 Filed   03/22/19 Page
                                                           Page
                                                              1 of2 4ofPageID
                                                                        5 PageID #:
                                                                              #: 3639
                                    4764
                                         U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
  MKM:MKP/TH/MJL                                      271 Cadman Plaza East
  F. #2017R01840                                      Brooklyn, New York 11201



                                                   February 25, 2019


  By Email and ECF

   Marc Agnifilo, Esq.                             Susan R. Necheles, Esq.
   Brafman & Associates                            Hafetz & Necheles LLP
   767 Third Avenue                                10 E 40th St, 48th Fl
   New York, NY 10017                              New York, NY 10016

   William F. McGovern, Esq.                       Justine Harris, Esq.
   Kobre & Kim LLP                                 Sher Tremonte LLP
   800 Third Avenue                                90 Broad St., 23rd floor
   New York, NY 10022                              New York, NY 10004

   David Stern, Esq.                               Hector Diaz, Esq.
   Rothman, Schneider, Soloway &                   Quarles & Brady, LLP
   Stern, LLP                                      Renaissance One
   100 Lafayette Street, Suite 501                 Two North Central Avenue
   New York, NY 10013                              Phoenix, AZ 85004


                  Re:   United States v. Keith Raniere, et al.
                        Criminal Docket No. 18-204 (NGG) (S-1)

  Dear Counsel:

                  Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, the
  government hereby notifies you that it intends to call Michael Welner, M.D., as an expert
  witness in the trial of the above-captioned case. His CV is attached to this letter.

                  Dr. Welner has been a board-certified psychiatrist since 1993, and a board-
  certified forensic psychiatrist since 1996. He is both a clinical and forensic psychiatrist. From
  1995 to 2011, he was on the teaching faculty of NYU School of Medicine as a Clinical Associate
  Professor of Psychiatry. In 2016, Dr. Welner joined the teaching faculty of Mt. Sinai School of
  Medicine as a Clinical Professor of Psychiatry where he has since taught and supervised senior
  psychiatry residents in case practice of forensic psychiatry and supervised graduate psychology
  students in research activities.

                  In 1998, Dr. Welner founded, and has since chaired, The Forensic Panel, a multi-
  specialty practice of the behavioral sciences, pathology, toxicology, medicine, and radiology. He
  Case
Case    1:18-cr-00204-NGG Document
     1:18-cr-00204-NGG-VMS Document456-8  Filed02/25/19
                                    378 Filed   03/22/19 Page
                                                           Page
                                                              2 of3 4ofPageID
                                                                        5 PageID #:
                                                                              #: 3640
                                    4765



  is a Fellow in the American Academy of Forensic Sciences. Dr. Welner has published numerous
  articles in behavioral, forensic, and social science journals and has lectured on a range of topics.
  Since 1992, Dr. Welner has examined hundreds of criminal defendants facing a range of charges.
  For approximately two decades, he has been part of the panel of ‘Highly Qualified Independent
  Psychiatrists’ maintained by the New York State Supreme Court, to whom judges refer criminal
  and civil commitment matters for independent assessment.

                   In his capacity as a consulting forensic psychiatrist, Dr. Welner has studied and
  applied the topics and relevant literature of cult-like organizations, large-group awareness
  trainings, the “human potential movement,” religious sects and chain-marketing organizations
  (the “comparative groups”), including financial and sexual exploitation and the psychological
  dynamics within the comparative groups. This includes the techniques of how intense attention
  and recruitment contributes to special relationships within which such exploitation takes place,
  and then to isolation through which recruits are controlled and exploitation perpetuates. As a
  clinical psychiatrist, Dr. Welner also has experience treating people who have left organizations
  like those described above.

                   He has also conducted extensive research, yet to be submitted for publication, on
  polygamous sect leaders and their followers, and has presented findings of this research at
  national forensic science meetings. This research illustrates the qualities of leaders and how they
  relate to their organizations and followers, how they relate to the outside world and prevent
  scrutiny, how the ideals of the organizations as set up by leaders enable the absolute power
  through which sexual and financial exploitation can happen. In the same research, Dr. Welner
  explored the followers of such organizations, what makes them vulnerable, and what makes it
  difficult for them to extricate themselves.

                  Dr. Welner has also conducted original published research on drug-facilitated sex
  assault perpetrators and their modus operandi (including the way they relate to their victims after
  the fact), as well as their victimology. In particular, he has examined the various ways in which
  some, including people with no criminal background or history of sexual offending, manipulate
  power differential and opportunism to sexually exploit employees in what would otherwise be
  ordinary encounters.

                 He has also extensively studied the topics and relevant literature on situations of
  coercive influence, including within school and employment settings. Dr. Welner has also
  published on educator sex abuse and how the power differential in scholastic settings is
  manipulated by teachers and mentors to sexually exploit the emotionally vulnerable, including
  those less mature. This involves an understanding of how, within such relationships, the
  mentor/teacher is able to cultivate silence and even complicity. He has consulted on a number of
  cases in which grooming behavior is alleged to have taken place, in both criminal and civil
  context, and to both those accusing others of grooming and themselves accused.

                 In addition, Dr. Welner has presented before national meetings and other
  professional audiences on financial exploitation, the assessment of populations vulnerable to
  financial exploitation, and the vectors of such exploitation. This work is notable for its
  concentration on how intelligent and informed people can be taken advantage of because of
  emotional vulnerabilities that play out in the relationship between victim and victimizer.
                                                   2
  Case
Case    1:18-cr-00204-NGG Document
     1:18-cr-00204-NGG-VMS Document456-8  Filed02/25/19
                                    378 Filed   03/22/19 Page
                                                           Page
                                                              3 of4 4ofPageID
                                                                        5 PageID #:
                                                                              #: 3641
                                    4766




                Dr. Welner’s proposed testimony concerns issues that are outside the average
  juror’s knowledge and would assist the jury in understanding the evidence. The topics of Dr.
  Welner’s proposed testimony include the following:

           How the actions of the alleged perpetrators within Nxivm and DOS compare to traits and
            practices of certain of the comparative groups and how such action can facilitate financial
            and sexual exploitation, including by:

               o Using aggressive recruiting tactics to lure recruits and foster their dependence,
               o Grooming the moral and value systems of members to conform with the
                 objectives of the organization and undermining their senses of self in order to
                 submit to control and exploitation,
               o Cultivating total deference and grooming towards a charismatic leader who has no
                 meaningful accountability,
               o Leveraging emotional vulnerability and intimate trust to control followers,
               o Creating extreme power imbalances,
               o Not tolerating dissent, and emotionally manipulating followers to remain
                 absolutely obedient, through an accusatory atmosphere in which betrayal is
                 suspected and charged, withholding their connection to a group on which they are
                 dependent, shunning, and other techniques,
               o Isolating members from friends and family,
               o Demonizing critics as “suppressives” and shunning of defectors,
               o Limiting the beliefs, behaviors and emotions that members are allowed to exhibit,
               o Creating financial dependence,
               o Gathering compromising material on members and exploiting it to create
                 compliance out of fear,
               o Controlling the emotional attachments of members, and
               o Controlling the sex lives of members.
           How families who are invested in the belief system of a group are affected and may lose
            their independence.
           How abuse of the dynamics of relationships of supervisor-supervisee, teacher-student and
            other relationships of authority facilitate financial and sexual exploitation.

                   The government also anticipates offering experts to testify as to the following
  topics.

                  Psychiatric and physiological effects of social, perceptual and occupational
                   isolation including deleterious effects on mental functioning, such as depression,
                   obsessive thoughts, agitation, confusion and suicidal ideation and behavior;

                                                     3
  Case
Case    1:18-cr-00204-NGG Document
     1:18-cr-00204-NGG-VMS Document456-8  Filed02/25/19
                                    378 Filed   03/22/19 Page
                                                           Page
                                                              4 of5 4ofPageID
                                                                        5 PageID #:
                                                                              #: 3642
                                    4767



                Behavior of victims of sex crimes including common misconceptions about
                 victim behavior, such as why victims often delay reporting to law enforcement
                 and others, why victims continue to communicate and maintain relationships with
                 their assailants and why victims often do not physically attack their assailants; and

                Psychiatric and physiological effects of lack of sleep and severe calorie
                 restriction.

  None of the experts called to testify by the government will state an opinion about whether a
  defendant did or did not have a mental state or condition that constitutes an element of any of the
  crimes charged.

                                                       Very truly yours,

                                                       RICHARD P. DONOGHUE
                                                       United States Attorney

                                               By:     /s/
                                                       Moira Kim Penza
                                                       Tanya Hajjar
                                                       Mark J. Lesko
                                                       Assistant U.S. Attorneys
                                                       (718) 254-7000


  cc:    Clerk of the Court (NGG) (VMS) (by ECF)




                                                   4
